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         IN THE UNITED STATES DISTRICT COURT FOR THE r
                  MIDDLE DISTRICT OF ALABAMA
                      NORTHERN DIVISION
                                                    Z019 MAR114 P3:11-1
SHEKELA JONES FIELDER,                                                       r,

                                                                                     COURT
                                                                                       ALA
      PLAINTIFF,
                                                  CIVIL ACTION NO.:2:19-cv-186-GMB
v.

THE HOTEL AT AUBURN                               JURY DEMAND
UNIVERSITY AND DIXON
CONFERENCE CENTER,and
ALLEGIANCE STAFFING,LLC.,


      DEFENDANTS.


                                 COMPLAINT

I.    NATURE OF THIS ACTION

1.    Plaintiff brings this action to redress discrimination and retaliation in

      employment on the basis ofrace. Specifically,PlaintiffShekela Jones Fielder

      brings this action for injunctive relief, backpay, cornpensatory damages,

      punitive damages, and attorneys' fees and costs under Title VII of the Civil

      Rights Act of 1964, as amended, including the Civil Rights Act of 1991,42

      U.S.C. Section 2000e et seq. and 42 U.S.C. Section 1981a and 42 U.S.C.

      Section 1981.

II.   JURISDICTION,VENUE,AND CONDITIONS PRECEDENT TO SUIT
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2.   This Court has jurisdiction pursuant to 28 U.S.C. Sections 1331, 1343(a)(4),

     2001, 2002, 42 U.S.C. § 12117, and 42 U.S.C. § 12133. Venue is proper

     pursuant to 28 U.S.C. § 1391.

3.   Plaintiff has fulfilled all conditions precedent to the institution ofthis action

     under Title VII and Section 1981. Plaintiff timely filed her charge of

     discrimination within 180 days ofthe occurrence ofthe last discriminatory act.

     Plaintifftimely filed her lawsuit within 90 days ofthe receipt ofher Right-to-

     Sue letter from the EEOC.

4.   Venue is proper in the Middle District ofAlabama under 28 U.S.C. §1391(b),

     and the Northern Division pursuant to Title VII's choice-of venue provision,

     42 U.S.C. § 2000e-5(f).

III. PARTIES

5.   Plaintiff, Shekela Jones Fielder,(hereinafter "Plaintiff') is a female citizen of

     the United States, over forty (40) years old, and a resident of the State of

     Alabama.

6.   Defendant,Allegiance Staffing,LLC("Allegiance),is an entity subject to suit

     under the Title VII and Section 1981.

7    Defendant,The Hotel at Auburn University( The Hoter),is an entity subject

     to suit under Title VII and Section 1981.

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8.    Defendants Allegiance Staffing, LLC and The Hotel at Auburn University

      ("Defendant Companies") were at all times relevant to this action Plaintiffs

      joint employers.

IV.   FACTS

      A.      BACKGROUND

9.    Plaintiff was hired by Allegiance Staffing to work for The Hotel at Auburn

      University.

10.   Plaintiff worked for Defendants from March 31, 2018 until May 21, 2018 as

      a dishwasher.

11.   Plaintiff performed her job well and never received a negative write-up or

      coaching during her employment.

12.   On or about May 11 2018,a rnanager in the kitchen ernployed directly by the

      hotel named Jeremy called another African American employee, who goes by

      the name "Ro Row," a monkey.

13.   Plaintiff and"Ro Row" were both shocked and offended by the statement and

      Plaintiff told "Ro Row" that he needed to tell Jeremy that they were both

      offended by the "monkey" comment as it was racially offensive.

14.   "Ro Row" complained to Jeremy that both he and Plaintiff were offended by

      the"monkey"comment because it was racially offensive to refer to an African

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      American as a monkey.

15.   After"Ro Row" complained to Jeremy, Jeremy came into the kitchen, which

      is primarily staffed with African Americans, and stated that "I have worked

      with 'you people' all my life," and that"I would rather work with 'your kind'

      than 'my kind.'"

16.   Jeremy's act of referring to African Americans as "you people and "your

      kine further offended Plaintiff, and on or about May 12, 2018, Plaintiff

      reported Jeremy's racial comments to Kim at Allegiance and stated that Jeremy

      had used racially offensive language, including addressing a fellow African

      American employee as a "monkey," making statements that he had worked

      with "you people"(referring to African-Americans)all ofhis life,and referring

      to African Americans as "your kind."

17.   Kim instructed Plaintiffto report the incidents to the hotel's human resources

      department.

18.   Plaintiff reported Jeremy's comments to the hotel's human resources

      department, and Plaintiff wrote a formal complaint.

19.   After Plaintiff went to human resources at the hotel, Jeremy began throwing

      glasses that were still half full of water into the dishwashing trays to

      intentionally splash water all over Plaintiff.

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20.   On or about May 21, 2018 Plaintiff was getting ready for work when she

      received a call from Allegiance informing Plaintiffthat her assignment at the

      hotel had ended.

21.   Plaintiffasked Allegiance why she was terminated from the hotel and they told

      Plaintiff that she had been on her cell phone in the bathroom, which Plaintiff

      promptly denied because she had not been on her cell phone.

22.   Plaintiff asked Allegiance if she could get a copy of her written complaint to

      hurnan resources, and Allegiance told Plaintiff that she could not have a copy

      and she was no longer allowed on the property.

23.   Plaintiffsubsequently learned that Jeremy had instructed another employee to

      e-mail Allegiance to fire her.

24.   Plaintiffcalled the hotel's human resources department and asked ifshe could

      get a copy of her complaint, and they told her no.

25.   Later that day,Plaintiffcalled Allegiance and asked to be reassigned to another

      job, and Allegiance informed Plaintiffthat nothing was available.

26.   Plaintiffcontinued calling Allegiance numerous times, requesting anotherjob

      assignment, but Allegiance still has not placed her in a job.

V.    CAUSES OF ACTION

COUNT I DISCRIMINATORY                    DISCHARGE           AGAINST BOTH

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             DEFENDANTS UNDER TITLE VII AND SECTION 1981

27.   Plaintiffre-alleges and incorporates by reference the above factual paragraphs

      with the same force and effect as iffully set out in specifk detail herein below.

28.   Plaintiff brings this Count against the Defendant Companies pursuant to Title

      VII ofthe Act of Congress known as the Civil Rights Act of 1964 42 U.S.C.

      Section 2000e et seq., as amended, 42 U.S.C. Section 1981a and 42 U.S.C.

      Section 1981.

29.   Defendants discriminated against Plaintiff because of her African American

      race by discriminating against her in the terms,conditions and privileges ofher

      employment, including but not limited to terminating her employment.

30.   Defendants have failed to articulate a legitimate non discriminatory reason for

      its discrirninatory practices and its decision to terminate Plaintiff.

31.   Defendants engaged in the practices complained ofherein intentionally and/or

      with reckless indifference to Plaintiffs federally protected rights.

COUNTII— RETALIATORY DISCHARGE AGAINST BOTH DEFENDANTS
UNDER TITLE VII AND SECTION 1981

32.   Plaintiffre-alleges and incorporates the above factual paragraphs with the same

      force and effect as if fully set out in specific detail herein below.

33.   Plaintiff brings this Count against the Defendant Companies pursuant to Title



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      VII and Section 1981.

34.   Plaintiffengaged in protected activity when she complained about her manager

      making racially offensive comments at work.

35.   In response to Plaintiff complaining of race discrimination, Defendants

      retaliated against the Plaintiffby taking materially adverse actions against her,

      up to and including terminating her employment.

36.   Defendant has failed to articulate a legitimate reason for the adverse

      employment actions it took against Plaintiff.

37.   Defendant engaged in the practices complained of herein wilfully and with

      malice and/or with reddess indifference to Plaintiffsfederally protected rights.

COUNT III — RETALIATORY FAILURE TO REHIRE CLAIM AGAINST
ALLEGIANCE STAFFING UNDER SECTION 1981

38.   Plaintiffre-alleges and incorporates the above factual paragraphs with the same

      force and effect as if fully set out in specific detail herein below.

39.   Plaintiff brings this Count against Allegiance pursuant to Section 1981.

40.   Plaintiffengaged in protected activity when she complained about her manager

      making racially offensive comments at work.

41.   In response to Plaintiff complaining of race discrimination, Defendant

      Allegiance Staffing retaliated against the Plaintiff by failing to rehire her in



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      another position at another company.

42.   Defendant Allegiance has failed to articulate a legitimate reason for failing to

      rehire Plaintiff at another company.

43.   Defendant Allegiance engaged in the practices complained of herein wilfully

      and with malice and/or with reckless indifference to Plaintiffs federally

      protected rights.

VI. PRAYER FOR RELIEF

      WHEREFORE,Plaintiffrespectfully prays that this Court assumejurisdiction

ofthis action and after trial:

1.    Issue a declaratory judgment that the employment policies, practices,

      procedures, conditions and customs of Defendants are violative ofthe rights

      ofPlaintiff as secured by Title VII.

2.    GrantPlaintiffreinstatementand a permanentinjunction enjoining Defendants,

      their agents,successors,employees,attorneys and those acting in concert with

      Defendants,and at Defendants' request,from continuing to violate Plaintiffs

      rights as well as those who are similarly situated pursuant to Title VII.

3.    Enter an Order requiring Defendants to make Plaintiff whole by awarding her

      reinstatement in the position and salary level she would have occupied absent

      discrimination and retaliation or requiring Allegiance to instate her into a

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     position she would have occupied absent retaliation, backpay (including lost

     overtime compensation),front pay ifreinstatement is not possible, lost wages

    (plus interest), medical expenses, compensatory damages, punitive darnages,

     postjudgment interest,loss ofbenefits including retirement,pension,seniority

     and other benefits of employment.

     Plaintiff further prays for such other reliefand benefits as the cause ofjustice

     may require,including,but not limited to,an award ofcosts,attorneys'fees and

     expenses.

                  Plaintiff Demands a Trial by Struck Jury.

                               Respectfully submitted,


                               /s/
                               Jon G. Gold arb asb-5401-f58j
                               L. William Smith asb-8660-A61S
                               Christina Malmat asb-1214-y44q
                               Counsel for Plaintiff

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DEFENDANTS'ADDRESSES:
THE HOTEL AT AUBURN UNIVERSITY

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AND DDCON CONFERENCE CENTER
c/o Hotel Manager
241 South College Street
Auburn, AL 36830

ALLEGIANCE STAFFING,LLC.
c/o President
5726 Root Road
Spring, TX 77389




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